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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

 REGENERON PHARMACEUTICALS, INC.                 )
                                                 )
                Plaintiff,                       )         C. A. No.: 22-00697-RGA-JLH
                                                 )
                             v.                  )         JURY TRIAL DEMANDED
                                                 )
 AMGEN INC.,                                     )
                                                 )
                Defendant.                       )

                    NOTICE OF NON-PARTY SUBPOENA DUCES TECUM

           Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendant Amgen Inc., by

  and through its undersigned counsel, will serve the enclosed subpoena duces tecum upon non-party

  CarelonRx, Inc. in the form appended hereto, for the production of documents described in

  Schedule A to the subpoena. The subpoena calls for the production of documents and things on

  or before July 3, 2023, at Veritext, 290 W Mt Pleasant Ave #3200, Livingston, NJ 07039, unless

  an alternative address is mutually agreed and confirmed in writing in advance of the production

  date.

                                        YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                                     /s/ Taylor E. Hallowell
                                        ____________________________________________
                                        Melanie K. Sharp (No. 2501)
                                        James L. Higgins (No. 5021)
                                        Taylor E. Hallowell (No. 6815)
                                        1000 North King Street
                                        Wilmington, DE 19801
                                        (302) 571-6600
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  Dated: June 2, 2023                   Attorneys for Amgen Inc.

  30428838.1
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Civil Action No. 22-697-RGA-JLH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            SCHEDULE A
                                             (CarelonRx)

  I.     DEFINITIONS

          All definitions in the Federal Rules of Civil Procedure apply to this Subpoena. Each

   undefined term in this Schedule A shall be given its usual dictionary definition, except terms

   that have acquired a particular meaning within your industry or your company, in which case

   such meaning shall apply for purposes of this Subpoena. In addition, as used herein:

         1.        “Communication(s)” means any transmission of information in any context or

  situation by any means or medium whatsoever, internally within an organization or externally with

  another person or organization, whether in the form of an original, a draft, or a copy, whether

  stored in hard copy, on tape, electronically or digitally, either orally, visually or in writing, and

  includes but is not limited to conversations, correspondence, electronic mails or emails, telexes,

  facsimile transmissions, telecopies, recordings in any medium of oral, written, or typed

  communications, telephone or message logs, notes or memoranda relating to written or oral

  communications; and any translation thereof.

         2.        “Concerning” means in whole or in part constituting, containing, relating to,

  embodying, reflecting, describing, involving, supporting, contradicting, evidencing, analyzing,

  identifying, mentioning, stating, referring directly or indirectly to, dealing with, or in any way

  pertaining to.

         3.        “Documents” mean all materials within the scope of Federal Rule of Civil

  Procedure 34 and all materials that constitute “writings” or “recordings” within the meaning of

  Rule 1001 of the Federal Rules of Evidence, including: the original and each non-identical copy

  of any written, printed, typed, recorded, computerized, electronic, taped, graphic, or other matter,

  in whatever form, whether different from the original by means of any notation made on such
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  copies or otherwise, whether in final or draft, and including electronically stored information and

  tangible things. The word “document” includes any engineering, laboratory or other notebooks,

  log books, record books, emails, communications, correspondence, letters, telegrams, memoranda,

  notes, minutes, summaries, working papers, progress reports, action item lists, analyses, studies,

  drawings, schematics, specifications, statistics, diagrams, purchase requests or orders, computer

  records, diaries, calendars, applications, permits, indices, invention disclosures, patent prosecution

  records, file wrappers, contracts, checks, statements, tags, invoices, brochures, periodicals,

  receipts, returns, pamphlets, books, offers, graphic or aural representations of any kind (including

  charts, microfiche, microfilm, recordings, motion pictures, videos, plans, drawings, and surveys),

  photographs, slides, audio tapes, video tapes, electronic mail and attachments, metadata,

  information stored on computer drives, diskettes, tapes, or other computer media, information

  stored magnetically or electronically, and any other representations of any kind.

         4.      “Incentive” or “Incentives” shall mean rebates, discounts, price reductions, fee

  waivers, price concessions, or other variances from, or any terms and conditions resulting in an

  actual or effective reduction of, the list price or WAC price of a drug.

         5.      “Information” means Information in any form, including but not limited to

  documentary, electronic, graphical, or tabular, and Communicated by any means, including but

  not limited to oral, written, or electronic Communications.

         6.      “Person” means any natural person or any business, proprietorship, firm,

  partnership, corporation, association, organization, or other legal entity. The “acts” of a Person are

  defined to include the acts of directors, officers, owners, members, employees, agents, attorneys,

  or other representatives acting on the Person’s behalf.




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         7.      “Praluent®” refers to Regeneron’s cholesterol-reducing drug approved by the U.S.

  Food and Drug Administration to treat certain cardiovascular conditions by reducing low-density

  lipoprotein cholesterol (LDL-C).

         8.      “Relates to,” “relating to,” and “related to” mean in whole or in part constituting,

  containing, concerning, embodying, reflecting, describing, involving, supporting, contradicting,

  evidencing, analyzing, identifying, mentioning, stating, referring directly or indirectly to, dealing

  with, or in any way pertaining to.

         9.      “Regeneron” means and includes Regeneron Pharmaceuticals, Inc. and its

  predecessors, subsidiaries, parents, affiliates, and other organizational or operating units of each

  of them, all past and present directors, officers, employees, agents, representatives, employees,

  consultants, and attorneys of any of them, all entities acting in joint-venture or partnership

  relationships with each of them, and others acting on the behalf of each of them.

         10.     “You” and “Your” shall refer to CarelonRx, and each of its predecessors,

  subsidiaries, parents, affiliates, and other organizational or operating units of each of them, all past

  and present directors, officers, employees, agents, representatives, employees, consultants, and

  attorneys of any of them, all entities acting in joint-venture or partnership relationships with each

  of them, and others acting on the behalf of each of them.

         13.       The term “including” is used to provide examples of certain types of Information

  and should not be construed as limiting a request in any way. The term “including” shall

  be construed as if followed by the phrase “but not limited to.”

         14.       The terms “each” and “any” means any and all.

         15.       The words “and” and “or” shall be used conjunctively or disjunctively, whichever

  make the request more inclusive.



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         16.       The singular form of a word shall include the plural and vice versa.

         17.       The masculine, feminine or neuter pronoun includes the other genders.

         18.       The present tense of a verb includes its past tense and vice versa.

  II.    INSTRUCTIONS

         1.      Each Request shall be answered pursuant to Federal Rules of Civil Procedure 45(e).

         2.      Furnish all responsive Documents and data in Your possession, custody, or control

  at the present time or coming into Your possession, custody, or control after the initial data

  production.

         3.      Unless the Request specifies a different time period, furnish all responsive

  Documents and data in Your possession, custody, or control from June 1, 2018 to the present with

  respect to competition and sales in the United States.

         4.      If no Documents or things are responsive to a particular Request, state in Your

  response that no Documents or things exist.

         5.      If You withhold any Document or portion thereof in response to any of the Requests

  set forth below on grounds of privilege or any other claim of immunity from discovery, then, for

  each document, communication, or portion thereof so withheld, state: (a) the type of document

  (e.g., letter, memorandum, contract, etc.); (b) its title; (c) its date; (d) its subject matter; (e) the

  name, address, and employer at the time of preparation of the individual(s) who authored, drafted,

  or prepared it; (f) the name, address, and employer of the individual(s) to whom it was directed,

  circulated, or copied, or who had access thereto at the time of dissemination; and (g) the grounds

  on which the document is being withheld (e.g., “attorney-client privilege,” “work product,” etc.).

         6.      If You contend that a portion of a Document contains information that is immune

  from discovery, then produce the Document with the allegedly immune portion redacted therefrom



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  and describe the redacted portion in a privilege log pursuant to the instructions in Paragraph 5

  above.

           7.     If You contend that any Document or thing requested has been destroyed, set forth

  the contents of the Document or thing, the date of its destruction, and the name of the person who

  authorized its destruction.

           8.     If You know of the existence, past or present, of any Document or thing responsive

  to any of the Requests, but such Document or thing is not presently in Your possession, custody,

  or control, identify the Document or thing and the individuals in whose possession, custody, or

  control the Document or thing was last known to reside.

           9.     The Requests seek all responsive Documents in their original language, and, if such

  original language is not English, these Requests also seek all English-language translations that

  may exist for any such Documents.

           10.    Each Document is to be produced along with all drafts, without abbreviation or

  redaction.

           11.    Any keys, codes, explanations manuals, or other Documents necessary for the

  interpretation or understanding of the Documents or things produced in response to these Requests

  shall be produced.

           12.    All Documents should be produced as they are kept in the ordinary course of

  business, or shall be organized and labeled to correspond to the specific paragraph(s) to which they

  are responsive. If producing the Documents requested as they are kept in the ordinary course of

  business, the integrity and internal sequence of the requested Documents within each file or folder

  shall not be disturbed nor shall the contents of any file or folder be commingled with the contents

  of another file or folder.



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          13.     In the event that You object to any Request on the ground that it is overbroad and/or

   unduly burdensome for any reason, respond to that request as narrowed to the least extent

   necessary, in Your judgment, to render it not overbroad/unduly burdensome and state specifically

   the extent to which You have narrowed that Request for purposes of Your response and the factual

   basis for Your conclusion.

          14.     In the event that You object to any Request on the ground that it is vague and/or

   ambiguous, identify the particular words, terms, or phrases that are asserted to make such Request

   vague and/or ambiguous and specify the meaning actually attributed by You to such words for

   purposes of Your response thereto.

   III.   RELEVANT TIME PERIOD

          Unless otherwise stated, each paragraph in this Subpoena covers the period from June 1,

   2018 to present. If a document prepared before or after this period is necessary for a correct or

   complete understanding of any document covered by a Request, you must produce the earlier or

   subsequent document as well. If any document is undated and the date of its preparation cannot be

   determined, the document shall be produced if otherwise responsive to the production Request.

   IV.    DOCUMENTS REQUESTED

          1.      All Documents requested by Plaintiff Regeneron Pharmaceuticals, Inc.’s subpoena

   dated April 17, 2023 (the “Regeneron Subpoena”).

          2.      In addition to the Documents requested by Request No. 1 of the Regeneron

   Subpoena, all Documents and Communications exchanged between You (including all Your

   agents and representatives) and Regeneron (including all of Regeneron’s agents and

   representatives) during the Relevant Time Period relating to Praluent®, Repatha®, Leqvio®, or any

   other cholesterol-reducing drugs, any moderate-to-severe rheumatoid arthritis drug, or any



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   moderate-to-severe psoriasis drug, including but not limited to emails, text messages, actual,

   potential, or draft agreements, contracts, bids, bid grids, letters of agreement, and/or offers or

   proposals relating to the negotiation of Incentives, administrative or planned fees, or any other

   form of compensation from Regeneron to You.

          3.      All Documents Concerning any actual or potential Regeneron rebate, discount,

   incentive, or other benefit for any drug conditioned on, or that had as a required term for payment,

   Your coverage, coverage terms, or formulary positioning for any other drug.




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